                    Case 1:25-cv-01935-JMF               Document 1      Filed 03/09/25         Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                               Southern District
                                             __________  DistrictofofNew York
                                                                      __________


                              M.K.                              )
                             Plaintiff                          )
                                v.                              )      Case No.    25-cv-1935
                          Joyce et al.                          )
                            Defendant                           )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          M.K.                                                                                                         .


Date:          03/09/2025                                                                  /s/ Kyle Barron
                                                                                         Attorney’s signature


                                                                                       Kyle Barron, 5768049
                                                                                     Printed name and bar number
                                                                                        Brooklyn, NY 11225



                                                                                                Address

                                                                                      kbarron138@gmail.com
                                                                                            E-mail address

                                                                                          (646) 574-2761
                                                                                          Telephone number



                                                                                             FAX number
